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for F£`:_'.

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WESTERN DIsTRlCT oF TENNESSEE 35 “ m -' l" ' '
F:C;E»`;r:i` iii i;i=i f`?.TO
,\'T-LEP,I<` £§_..53. {“,@i t _}'l“.

U. s.A. vs. MAROUELL GRIFFIN noeketNo. 2=03CR26530361'N, '“~"’L~;f“H-'S

 

 

Petition on Probation and Supervised Release

COMES NOW Willie S. Williams Jr. , PROBATION OFFICER OF THE C()URT presenting
an official report upon the conduct and attitude of Marguell GriHin , Who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Mernphis, Tennessee , on the 18th day of December,
2093_ Who fixed the period of supervision at three (3) years* , and imposed the general terms and conditions
theretofore adopted by the Court and also imposed special conditions and terms as follows:

 

 

l. The defendant shall participate as directed in a program approved by the Probation Oflicer for
treatment of narcotic addiction or drug or alcohol dependency which may include testing for the
detection of substance abuse. Further, the defendant shall be required to contribute to the costs of
services for such treatment not to exceed an amount determined reasonable by the Probation 0fficer.

2. The defendant Shall seek and maintain full-time lawful employment

* Effective date of Supervision: June 30, 2004.
RESPECTFULLY PRESENTING PETITION FOR ACTION ()F COURT FOR CAUSE AS FOLLOWS:

(sEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER that a WARRANT be issued for Marquell Griffin to
appear before the Honorable Bernice B. Donald to answer charges of Supervised Release violations

 

BOND:
()RDER OF COURT I declare under the penalty of perjury
that the foregoing is true and correct.
Considered and ordered thisr?_§' day Executed

of@;mf_, 2005 , and ordered filed on //é,a,é ga g~)@i’)'
_ . ' / /
- he above , ' m_,
Senior Unite‘d{SHtes Probation flicer

Place: l\/Iem_p_l£'sJ TN

    

 

This document entered on the docket sh et in compliance /0
W:th Huie 55 and/or 32{b) FRCrP on z ' W 'O

 

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state, or local crime.

On February 24, 2005, Mr. Griflin entered a guilty plea to the offense of Driving on a Revoked License in the
General Sessions Courts for Crockett County, Tennessee. He was sentenced to eleven (I l) months and
twenty-nine (29) days in the Crockett County Jail, with all but forty-eight (48) hours suspended, and a 5250.00
fine. The Af`tidavit of Complaint revealed that Mr. Griflin had been stopped and subsequently charged With the
violation on .lanuary 21, 2005, by the Alamo Tennessee Police Department.

Additionally, on February 24, 2005, Mr. Gri$n entered a guilty plea to the offense of TheH of Services in the
General Sessions Courts for Crockett County, Tennessee. He was sentenced to eleven (l l) months and twenty-
nine (29) days in the Crockett County Jail; all jail time was suspended, and he was placed on Active Probation.
He was also ordered to make restitution in the amount of $244.8 l. According to the investigative reports, the
Gibson County Electric Company discovered that Mr. Griflin had removed the disconnect boost nom a meter
in Crockett County, Tennessee. He was arrested on February 23, 2005, by the Crockett County Sheriff’s
Department.

The defendant shall report to the Probation Officer and shall submit a truthful and complete written
report within the first five days of each month.

Mr. Griffin violated this condition in that he failed to submit a monthly supervision report for the month of
March 2005. Further, Mr. Griflin violated this condition in that he failed to keep scheduled appointments with
the Probation Oflicer on February 15, and March 3, 2005. Mr. Grifiin also violated this condition in that he
failed to truthfully complete his November 2004 supervision report, as said report did not indicate use of illegal
drugs.

The defendant shall answer truthfully all inquiries by the Probation Officer and follow the instructions
of the Probation Ofiicer.

Mr. Griffin violated this condition in that he failed to report to the Probation Oiiice for the purpose of being
placed into a substance abuse counseling and random drug screening program per the instructions of the
Probation Oflicer.

The defendant shall refrain from excessive use of alcohol and shall not purchase, use, distribute, or
administer any controlled substance or any paraphernalia related to any controlled substanee, except
as prescribed by a physician.

Mr. Griflin violated the above condition in that he tested positive for Cocaine on November 9, 2004, as
evidenced by a drug screen administered in the Probation Oflice.

CONTINUED

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Marquell Griffin (2:03CR20330~01)

THE DEFENDANT VIOLATEI) 'I`HE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall notify the Probation Officer within seventy-two (72) hours of being arrested or
questioned by a law enforcement officer.

Mr. Grif[in violated this condition by failing to report his January 21 and February 23, 2005, arrests to the
Probation Oiiicer Withjn the required seventy-two (72) hours.

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Offlcer for treatment of narcotic addiction ordrug or alcohol dependency which may include
testing for the detection of substance use or abuse. Further, the defendant shall be required to
contribute to the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer.

Mr. Grifiin violated the above condition in that he has failed to make himself available for placement in
substance abuse counseling and random drug screening with Dr. Janet Scott and Associates subsequent to a
treatment referral being approved on January 25, 2005.

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VIOLATION WORKSHEET

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Defendant Marquell GrifFrn (Address: 3457 Point Pleasant, Memphis, TN 38118)
2. Docket Number {Year-Sequence-Defendant 2:03CR20330-01
No.)
3. Districthffice Westem District of Tennessee (Memphis)
4. Original Sentence Date __L lm‘L<`i_ l _2_0_0§
month day year
{Ir' different man above):
5. Original DistrictIOffice
6. Original Docket Number (Year-Soquence-Defendant No.)
7. List each violation and determine the applicable grade w §7B1.1}:
Vio|ationjs} Grade
0 New criminal convictions for Dn'ving on a Revoked License; and Theft of Services C
0 Faiiure to report to the probation ofticer; and failure to submit a truthful and complete written report C
0 Fai|ure to follow the instructions of the probation officer C
Possession and use of cocaine B
Failure to notify the probation oflicer of arrests within the required seventy-two (72) hours C
Failure to participate in a substance abuse and random drug screening pQgram as directed C
o
8. Most Serious Gmde of Violation w §7B1.1(b)) B
9. Crimina| History Category {Yg §7B1.4(a)}74 Vi
10. Range of imprisonment (§g§ §?B1.4{a)) 21 -24 months
Restricted Guideline
18 USC § 3583(e) authorizes a maximum sentence of 24 months
11. Senteneing Options for Grade B and C Violations Only (Check the appropriate box):

{ } (a)lfthe minimum term of imprisonment determined under §7B1.4 (i'erm of lmprisonment) is at least one month but not
more than six months. §7B1.3(c)(1) provides sentencing options to imprisonment

{ } (b)tf the minimum term of imprisonment determined under §781.4 (Term of Imprisonment) is more than six months but
not more than ten months, §781.3(0)(2) provides sentencing options to imprisonment

{X} (c)|f the minimum term of imprisonment determined under §7B1.4 (Term of |rnpn'sonment) is more than ten months, no
sentencing options to imprisonment are available

Mail documents to: United States Sentencing Cornmission, 1331 Pennsy|vania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

15.

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Defendant Marque|| Griffin

Unsatislied Condilions of Origina| Sentence

List any restitution tine, community confinement home detention or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §7B1.3(d)}:

 

 

 

 

Restltution ($) NIA Community Confinement N/A
Fine ($) NlA Home Detention NIA
Other N/A _ lnterrnittent Conlinement N!A

 

 

Supervised Re|ease

|f probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§5D1.1-
1-3{§€§ §§7|31»3(9)(1)}.

Term: NIA to NIA years
|fsupervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment imposable upon
revocation the defendant may, to the extent permitted by law. be ordered to recommends supervised release upon release from
imprisonment lsee 18 U.S.C. §3583(e) and §731,3(9)(2)}.
Period of supervised release to be served following release from imprisonment
Departure

Llst aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

thcial Detention Adjustment {_s_e_g §7 B1.3(e)}: months days

Mai| documents to: United States Sentencing Commicsion, 1331 Fennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitcring Unit

   

UNITED sATE DSTIIC COURT - WESTERN DISTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:03-CR-20330 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

chcrable Bernice Dcnald
US DISTRICT COURT

